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                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

     CHRISTOPHER KESSLER, ON BEHALF
     OF HIMSELF AND THOSE SIMILARLY
     SITUATED,

                   Plaintiffs,
     vs.                                             CASE NO. 6:06-CV-1442-ORL-19GJK

     LIFESAFER SERVICE PROVIDERS, LLC,,

                   Defendant.


                                            ORDER

            This case was considered by the Court on the Report and Recommendation of the

     United States Magistrate Judge (Doc. No. 63, filed March 27, 2008). No objection to said

     Report and Recommendation was filed. Upon consideration, it is

            ORDERED that the Report and Recommendation (Doc. No. 63) is ADOPTED and

     AFFIRMED. The Joint Notice of Filing and Joint Motion for Approval of Settlement

     Agreement as Stipulated Final Judgment and Incorporated Memorandum of Law (Doc. No.

     62, filed March 17, 2008) is GRANTED, and the settlement is APPROVED only to the

     extent that it is a fair and reasonable resolution of a bona fide dispute. This case is

     DISMISSED, and the Clerk of Court is directed to CLOSE THIS CASE.

            DONE AND ORDERED at Orlando, Florida, this          9th      day of April, 2008.
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     Copies to:

     Counsel of Record
